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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

SHIVAM PATEL,                                    §
                                                 §
       Plaintiff                                 §
                                                 §
v.                                               §           CASE NO. 4:21-CV-00989
                                                 §
UNITED AIRLINES, INC.                            §
                                                 §
       Defendant                                 §


            AGREED MOTION FOR DISMISSAL WITH PREJUDICE


       Plaintiff Shivam Patel (“Patel”) and Defendant United Airlines, Inc. (“UA”) file

this agreed motion for dismissal with prejudice.

       In an effort to resolve this action without incurring additional fees and expenses,

and without UA admitting any liability, the parties have entered into a confidential

settlement agreement in which the parties request the Court, under Rule 41(a)(2) of the

Federal Rules of Civil Procedure, to dismiss Patel’s claims against UA with prejudice,

each party bearing its own costs and attorney fees.

       Accordingly, the parties request that the Court grant this Agreed Motion for

Dismissal with Prejudice.




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                                     Respectfully submitted,

                                     COANE AND ASSOCIATES



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                           CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of June, 2022, a copy of the foregoing was
filed with the Clerk of Court and served to the following counsel of record via CM/ECF:

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